Case 9:22-cv-81294-AMC Document 79 Entered on FLSD Docket 09/09/2022 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


  DONALD J. TRUMP,
                                                           Case No.: 22-CV-81294-AMC
         Plaintiff,

                      v.

  UNITED STATES OF AMERICA,

         Defendant.
                                                     /

             THE NEWS MEDIA’S JOINT MOTION TO UNSEAL NOTICE OF
              STATUS OF PRIVILEGE REVIEW TEAM’S FILTER PROCESS

         Proposed Intervenors American Broadcasting Companies, Inc.; the Associated Press;

  Bloomberg LP; Cable News Network, Inc.; CBS Broadcasting Inc.; Dow Jones & Company,

  Inc., publisher of The Wall Street Journal; the E.W. Scripps Company; The Palm Beach Post, a

  newspaper owned and operated by Gannett Co., Inc.; Gray Media Group, Inc. d/b/a WCJB-TV,

  WJHG-TV, and WWSB-TV; NBCUniversal Media, LLC d/b/a NBC News; The New York

  Times Company; and WP Company LLC d/b/a The Washington Post (the “News Media”)

  hereby join the Government’s Motion to Unseal Notice of Status of Privilege Review Team’s

  Filter Process (“Gov’t Mot.”), ECF No. 71.1

         As the Government correctly notes, the common law presumes public access to judicial

  records. See Gov’t Mot. at 3 (citing Chi. Trib. Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304,



  1
   This group of movants has previously requested leave to intervene for the limited purpose of
  seeking public access to all documents filed under seal with this Court pursuant to its August 27,
  2022 Preliminary Order on Motion for Judicial Oversight and Additional Relief, ECF No. 29.
  See The News Media’s Joint Mot. to Intervene for the Limited Purpose of Obtaining Access to
  Ct. Records and to Unseal Same, ECF No. 49. That motion remains pending decision.
Case 9:22-cv-81294-AMC Document 79 Entered on FLSD Docket 09/09/2022 Page 2 of 3




  1311 (11th Cir. 2011); United States v. Ignasiak, 667 F.3d 1217, 1238 (11th Cir. 2012)). The

  First Amendment to the U.S. Constitution also provides for a presumption of access to judicial

  records. See Bright v. Mental Health Res. Ctr., Inc., 2012 U.S. Dist. LEXIS 33929, at *11-12

  (M.D. Fla. Mar. 14, 2012) (“The Court may only disregard the presumption of openness” for

  judicial records “where there is a compelling government interest, and may only do so in a

  manner that is narrowly tailored to protect that interest.”).

            Here, the Court ordered the Government to file the notice of the status of the filter review

  by the Government’s privilege review team (the “Filter Notice”) under seal. See Preliminary

  Order on Motion for Judicial Oversight and Additional Relief, ECF No. 29 at 2. The Court’s

  subsequent Order relies in part on the Filter Notice. See Order, ECF No. 64 at 6, 15 n.13. The

  Filter Notice is therefore clearly a judicial record subject to the presumption of public access.

  Moreover, the Government has informed the Court that no compelling interest, or any

  justification at all, would warrant the continued sealing of that document. See Gov’t Mot. at 4-5.

            For these reasons, and those stated in their prior motion to unseal, ECF No. 49, the News

  Media join in the Government’s Motion and respectfully request that the Court unseal the Filter

  Notice.




                                                     2
Case 9:22-cv-81294-AMC Document 79 Entered on FLSD Docket 09/09/2022 Page 3 of 3




   Dated: September 9, 2022                  Respectfully submitted,

   THOMAS AND LOCICERO PL                    BALLARD SPAHR LLP

   By: /s/ Carol Jean LoCicero               By: /s/ Charles D. Tobin
       Carol Jean LoCicero (FBN 603030)          Charles D. Tobin (FBN 816345)
       Mark R. Caramanica (FBN 110581)           1909 K Street NW, 12th Floor
       601 South Boulevard                       Washington, DC 20006
       Tampa, FL 33606                           Telephone: 202.661.2218
       Telephone: 813.984.3060                   tobinc@ballardspahr.com
       clocicero@tlolawfirm.com
       mcaramanica@tlolawfirm.com                   Elizabeth Seidlin-Bernstein (pro hac vice)
                                                    1735 Market Street, 51st Floor
       Dana J. McElroy (FBN 845906)                 Philadelphia, PA 19103-7599
       915 Middle River Drive, Suite 309            Telephone: 215.665.8500
       Fort Lauderdale, FL 33304                    seidline@ballardspahr.com
       Telephone: 954.703.3418
       dmcelroy@tlolawfirm.com                   Attorneys for Intervenors the Associated Press,
                                                 Bloomberg LP, Cable News Network, Inc., Gray
   Attorneys for Intervenors The New York        Media Group, Inc., NBCUniversal Media, LLC,
   Times Company and CBS Broadcasting Inc.       the E.W. Scripps Company, and WP Company
                                                 LLC

   SHULLMAN FUGATE PLLC                      ATHERTON GALARDI MULLEN &
                                             REEDER PLLC

   By: /s/ Rachel E. Fugate                  By: /s/ L. Martin Reeder, Jr.
       Rachel E. Fugate (FBN 144029)             L. Martin Reeder, Jr. (FBN 308684)
       Deanna K. Shullman (FBN 514462)           1641 Worthington Road, Suite 11
       Minch Minchin (FBN 1015950)               West Palm Beach, FL 33409
       2101 Vista Parkway, Suite 4006            Telephone: 561.293.2530
       West Palm Beach, FL 33411                 martin@athertonlg.com
       Telephone: 813.935.5098
       rfugate@shullmanfugate.com            Attorneys for Intervenor The Palm Beach Post
       dshullman@shullmanfugate.com
       mminchin@shulmanfugate.com

   Attorneys for Intervenors Dow Jones &
   Company, Inc. and American Broadcasting
   Companies, Inc.




                                             3
